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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

______________________________________________________________________________

United States of America,                              Criminal No. 06-08 (06), (07) (RHK/RLE)

                               Plaintiff,

       vs.                                                             ORDER

Chad Michael May (06), and
Christian Darryl Veith (07),

                        Defendants.
______________________________________________________________________________

       In a June 12, 2006, Report and Recommendation, Chief Magistrate Judge Raymond L.

Erickson has recommended that (1) Defendant May’s Motion to Suppress Statements be granted in

part; (2) Defendant May’s Motion to Suppress Evidence as a Result of Search and Seizure be denied;

and Defendant Veith’s Motion to Suppress Statements be denied.

       Before the Court are the Objections to the Report and Recommendation filed by both

Defendants May and Veith. The de novo review of the Report and Recommendation and Defendants’

Objections thereto, satisfies the undersigned that Judge Erickson’s thorough and well-reasoned analysis

of the issues before him should be adopted. The recommendations are fully supported by applicable

legal precedent and the factual record before Judge Erickson. No useful purpose would be served by

another opinion of this Court which would reach the same result as that reached by Judge Erickson.

       Accordingly, and based upon all the files, records and proceedings herein, IT IS ORDERED:
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       1. Defendant May’s Objections (Doc. No. 265) to the June 12, 2006, Report and

Recommendation are OVERRULED;

       2. The Report and Recommendation (Doc. No. 259) is ADOPTED as to Defendant May;

       3. Defendant’s May’s Motion to Suppress Statements (Doc. No. 211) is GRANTED IN

PART (with respect to the statement made on December 11, 2005, without the benefit of a Miranda

warning and while May was handcuffed and detained) and is in all other respects DENIED;

       4. May’s Motion to Suppress Evidence Obtained as Result of a Search and Seizure (Doc. No.

213) is DENIED;

       5. Defendant Veith’s Objections to the Report and Recommendation (Doc. No. 260) are

OVERRULED;

       6. The Report and Recommendation (Doc. No. 259) is ADOPTED as to Defendant Veith;

and

       7. Defendant Veith’s Motion to Suppress Statements (Doc. No. 232) is DENIED.




Dated: July 10, 2006


                                                    s/Richard H. Kyle
                                                    RICHARD H. KYLE
                                                    United States District Judge
